Case 1:11-cv-07550-GBD-SN Document 320-11 Filed 02/22/20 Page 1 of 9

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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IN RE TERRORIST ATTACKS ON SEPTEMBER 11, 2001 :

: MOTION TO PERMIT
ATTACHMENT AND
EXECUTION PURSUANT
TO 28 U.S.C. §1610(c)

03 MDL 1570 (GBD) (SN)
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This Document Relates to
Hogtlan, et al. v. Iran, et al.
1:11-cv-07550 (GBD) (SN)

EXHIBIT H3
Case 1:11-cv-07550-GBD-SN Document 320-11 Filed 02/22/20 Page 2 of 9
Case 1:11-cv-07550-GBD-SN Document 300 Filed 01/25/19 Page 2 of 3

Rider to Clerk Certificate of Mailing
Case No. 11¢cv7550(GBD)(SN)

DOCUMENTS MAILED:

(2)

Cover Letter to Mohammad Javad Zarif, Foreign Minister of the Islamic Republic of Iran;
U.S. District Court for the Southern District of New York Clerk’s Certificate of Default,
dated March 17, 2015 (Hoglan Docket No. 89);

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Certified Farsi Translations of all the above documents along with affidavits of
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Letters of Rogatory
Case 1:11-cv-07550-GBD-SN Document 320-11 Filed 02/22/20 Page 3 of 9
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claims must be filed within strict time limits, see current FedEx Service Guide.

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SOUTHERN DISTRICT OF NEW YORK DATE FILED:

Hoglan, et al.
vy. CERTIFICATE OF MAILING

Iran, et al., Case No.: 1l-cv-07550 (GBD) (SN)
03-md-01570 (GBD) (SN)

Thereby certify under the penalties of perjury that on the 25 day of January, 2019, I served:

National lranian Petrochemical Company, c/o H.E. Mohammad Javad Zarif. Foreign Minister of

the Islamic Republic of Iran, Ministry of Foreign Affairs of the Islamic Republic of Iran, Imam Khomeini

Avenue, Tehran, Iran

CI the individual of the foreign state, pursuant to the provisions of FRCP 4(f)2(c)(ii).

CJ the head of the ministry of foreign affairs, pursuant to the provisions of the Foreign
Sovereign Immunities Act, 28 U.S.C. § 1608(a)(3).

the Secretary of State, Attn: Director of Consular Services, Office of Policy Review and

Inter-Agency Liaison (CA/OCS/PRI), U.S. Department of State, SA-29, 4" Floor, 2201 C Street NW,
Washington, DC 20520, pursuant to the provisions of the Foreign Sovereign Immunities Act, 28 U.S.C.
§ 1608{a)(4).

J the head of the agency or instrumentality of the foreign state, pursuant to the provisions
of the Foreign Sovereign Immunities Act, 28 U.S.C. § 1608(b)(3)(B).

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by Federal Express #774207893412

Dated: New York, New York

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Case 1:11-cv-07550-GBD-SN Document 301 Filed 01/25/19 Page 2 of 3

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Certified Farsi Translation of all above documents along with an affidavit of the
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Letters Rogatory

Case 1:11-cv-07550-GBD-SN Document 320-11 Filed 02/22/20 Page 6 of 9

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Case 1:11-cv-07550-GBD-SN Document 302 Filed o1l>Geia dpage 1 of 3

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~ CERTIFICATE OF MAILING
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Iran et al.

Lhereby certify under the penalties of perjury that on the 25_ day of _January_, 2019, I served: Ali
Akbar Hashemi Rafsanjani c/o H.E. Mohammad Javad Zarif, Foreign Minister of the Islamic Republic of

Tran, Ministry of Foreign Affairs of the Islamic Republic of Iran, Imam Khomeini Avenue, Tehran, Iran

LJ the individual of the foreign state, pursuant fo the provisions of FRCP 4(f)2(c)(ii).

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Case 1:11-cv-07550-GBD-SN Document 320-11 Filed 02/22/20 Page 8 of 9
Case 1:11-cv-07550-GBD-SN Document 302 Filed 01/25/19 Page 2 of 3

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